Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 1 of 8 PageID: 179



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

_______________________________________
                                       :
HOV SERVICES, INC.                     :
                                       :              Civil Action No. 11-522 (FSH)(MAS)
                  Plaintiff,           :
                                       :
            v.                         :              SCHEDULING ORDER
                                       :
COGNIZANT TECHNOLOGY SOLUTIONS :
CORPORATION,                           :
                                       :
                  Defendant.           :
_______________________________________:


       It is on this 11th day of April, 2011,

       ORDERED THAT:

       (1)     A scheduling conference shall be conducted before the undersigned at 2:30 P.M.

on May 31, 2011, in Courtroom 2C, Martin Luther King Courthouse Bldg., 50 Walnut Street,

Newark, N.J. See Local Civil Rule 16.1(a)(1);

       (2)     The lead attorney on the case must attend the conference in person and be

prepared to discuss all aspects of the case including avenues of early resolution, and must have

discussed settlement of the matter with the client;

       (3)     Any requests for adjournment of this scheduling conference must be in writing at

least 5 days in advance of the conference;

       (4)     Failure to comply with the above directives wastes the Court’s time and is

discourteous to your adversary(ies); such failure to comply may result in sanctions;

       (5)     Early disclosure requirements of Fed. R. Civ. P. 26 will be enforced. Therefore, the

parties shall immediately exchange the information described in Fed. R. Civ. P. 26(a)(1)(A)-(D)
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 2 of 8 PageID: 180



without awaiting a discovery request;

        (6)    At least fourteen (14) days prior to the conference scheduled herein, the parties shall

confer pursuant to Fed. R. Civ. P. 26(f) and shall submit a discovery plan to the undersigned not later

than 72 hours prior to the conference with the Court. THE DISCOVERY PLAN SHALL BE IN THE

FORM OF THE ATTACHED AND SHALL BE SUBMITTED JOINTLY;

        (7)    The parties are directed to Local Civil Rule 26.1(d), which addresses “discovery of

digital information including computer-based information,” describes the obligations of counsel with

regard to their clients’ information management systems, and directs parties to “confer and attempt to

agree on computer-based and other digital discovery matters,”

        (8)    No formal discovery demands may issue pending the conference with the Court.

Unless the parties stipulate otherwise or leave of Court is obtained, the case management order will

limit the number of interrogatories, including subparts to 25 and depositions that each party may seek

to 10. See Fed. R. Civ. P. 26(b), 26(d).

        (9)    At the conference with the Court, all parties who are not appearing pro se must be

represented by counsel who actually has full authority to bind their clients in all pretrial matters.

Counsel must discuss the merits of the case and settlement with their client before the conference, and

shall have full settlement authority when they attend the conference. Clients or persons with authority

over the matter shall be available by telephone. Local Civil Rule 16.1(a)(3);

        (10)    At the conference scheduled herein, the Court will address scheduling of all motions.

No motions shall be filed without prior leave of the Court. If any motions have already been filed,

immediately advise the Court in writing regarding the nature of the motions and the present status of

same;

        (11)   Plaintiff(s) shall notify any party who hereafter enters an appearance of the conference

scheduled herein and forward to that party a copy of this Order;

        (12)   The Court has implemented an electronic case filing system for all documents filed
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 3 of 8 PageID: 181



with the Clerk of Court. Documents not filed electronically, but rather filed in the traditional manner

on paper must be accompanied by a disc or cd containing the document in PDF format. Orders will

be electronically filed. Paper copies will be provided to pro se litigants and counsel who are not

registered to file electronically. Registered counsel will be notified via email when an order is filed

but are responsible for retrieving and reviewing the contents.

       (13)    To register as an electronic filer, obtain on-line training, and see policies and

procedures, contact the Clerk’s Office or visit the website at pacer.njd.uscourts.gov. On-site training

is also available and can be arranged by contacting 973-645-4439.

       (14)    The parties shall advise the undersigned immediately if this action has been settled or

terminated so that the above conference may be cancelled.

       (15)    Failure to comply with the terms hereof may result in the imposition of sanctions; and

       (16)    Communications to the Court by facsimile will not be accepted. All communications

to the Court shall be in writing or by telephone conference.




                                                        /s/ Michael A. Shipp
                                                      United States Magistrate Judge
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 4 of 8 PageID: 182



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                          :   Civil Action No.
                                          :
                Plaintiff(s),             :
                                          :
     v.                                   :
                                          :
                                          :
                                          :
              Defendant(s).               :   JOINT DISCOVERY PLAN



1.    For each party, set forth the name of the party, attorney appearing, the firm name, address, e-mail
      address, telephone number and facsimile number. In addition, the lead counsel on each side
      should bring a business card which contains his/her e-mail address to the Rule 16 Scheduling
      Conference.




2.    (a) Set forth a brief description of the case, including the causes of action and affirmative
      defenses asserted.




      (b) Is this a fee-shifting case?

      Yes          No

      If so, set forth legal authority.
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 5 of 8 PageID: 183



3.    Has this action been: Settled_______ Discontinued______

      If so, has there been a Stipulation/Dismissal filed?

      Yes _____ No _____

4.    Have settlement discussions taken place? Yes _____ No _____

      If so, when?
      (a) What was plaintiff’s last demand?

            (1)    Monetary demand: $
            (2)    Non-monetary demand:
      (b) What was defendant's last offer?

             (1)     Monetary offer: $
             (2)     Non-monetary offer:

5.    Core discovery needed to be able to discuss settlement in a meaningful way:




6.    The parties [have _____ -have not _____] exchanged the information required by Fed. R.Civ. P.
      26(a)(1). If not, state the reason therefor.




7.    Explain any problems in connection with completing the disclosures required by Fed. R.Civ. P.
      26(a)(1).




8.    The parties [have _____ -have not _____] conducted discovery other than the above disclosures.
      If so, describe.
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 6 of 8 PageID: 184



9.    The parties [have _____ -have not _____] met pursuant to Fed. R. Civ. P. 26(f).

      (a) If not, state the reason therefor.




      (b) If so, state the date of the meeting and the persons in attendance.




10.   The following [is _____ -is not _____] a proposed joint discovery plan.

      (a)     Discovery is needed on the following subjects:




      (b)     Discovery [should _____ -should not _____] be conducted in phases or be limited to
              particular issues. Explain.




      (c)     Maximum of _____ interrogatories by each party to each other party.

      (d)     Maximum of _____ depositions to be taken by each party.

      (e)     Plaintiff's expert report due on                                      .

      (f)     Defendant's expert report due on                                      .

      (g)     Motions to amend or to add parties to be filed by                                       .

      (h)     Dispositive motions to be served within __________ days of completion of discovery.

      (i)     All discovery to be completed by                                   . (If there is a need for a
              liability expert and it is necessary to defer the completion of expert discovery beyond this
              deadline, please state the reason why and the proposed date for completion of expert
              discovery.)
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 7 of 8 PageID: 185



      (j)     Set forth any special discovery mechanism or procedure requested, including data
              preservation

      orders or protective orders:




      (k)     A pretrial conference may take place on                                          .

11.   Do you anticipate any discovery problem(s)? Yes ____ No ____

      If so, explain.




12.   Do you anticipate any special discovery needs (i.e., videotape/telephone depositions; problems
      with out-of-state witnesses or documents, etc.)? Yes _____ No _____



      If so, explain.




13.   State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil Rule 201.1
      or otherwise), mediation (pursuant to Local Civil Rule 301.1 or otherwise), appointment of a
      special master or other special procedure. If not, explain why and state whether any such
      procedure may be appropriate at a later time (i.e., after exchange of pretrial disclosures, after
      completion of depositions, after disposition or dispositive motions, etc.).




14.   Is this case appropriate for bifurcation? Yes ____ No ____

15.   An interim status/settlement conference (with clients in attendance), should be held during
      the month of           , 200 .
Case 2:11-cv-00522-CCC-JAD Document 13 Filed 04/11/11 Page 8 of 8 PageID: 186



16.   We [do _____ do not _____] consent to the trial being conducted by a Magistrate Judge.




              _____________________________________
               Attorneys for Plaintiff(s)                              Date



               ____________________________________
               Attorneys for Defendant(s)                              Date
